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 Attorney or Party Name, Address, Telephone & FAX                           FOR COURT USE ONLY
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 HUNT ORTMANN PALFFY
 NIEVES DARLING & MAH, INC.                                                                              CLERK U.S. BANKRUPTCY COURT
                                                                                                         Central District of California
 301 North Lake Avenue, 7th Floor                                                                        BY walter     DEPUTY CLERK
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                                                                                              CHANGES MADE BY COURT

      Movant appearing without an attorney
      Attorney for Movant

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:                                                                     CASE NO.: 2:15-BK-10239-SK

 HUE CHAU AKA JIMMY CHAU                                                    CHAPTER: 13

                                                                                    ORDER GRANTING MOTION FOR
                                                                                  RELIEF FROM THE AUTOMATIC STAY
                                                                                         UNDER 11 U.S.C. § 362
                                                                                    (Action in Nonbankruptcy Forum)

                                                                            DATE: 02/24/2015
                                                                            TIME: 08:30 a.m.
                                                                            COURTROOM: 1575
                                                                            PLACE: 255 East Temple Street, 15th Floor
                                                                                    Los Angeles, CA 90012

                                                             Debtor(s).

 MOVANT: Reliable Design and Construction Inc.



1. The Motion was:                 Opposed             Unopposed               Settled by stipulation

2. The Motion affects the following Nonbankruptcy Action:

     Name of Nonbankruptcy Action: Reliable Design and Construction Inc. v. Jimmy Chau
     Docket number: JAMS Ref. No. 1220046673
     Nonbankruptcy court or agency where the Nonbankruptcy Action is pending:

     JAMS - Arbitration


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California.

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3. The Motion is granted under 11 U.S.C. § 362(d)(1).

4. As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.       Terminated as to the Debtor and the Debtor’s bankruptcy estate.
      b.       Modified or conditioned as set forth in Exhibit                  to the Motion.
      c.       Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
               remedies regarding the nonbankruptcy action do not constitute a violation of the stay.

5. Limitations on Enforcement of Judgment: Movant may proceed in the nonbankruptcy forum to final judgment
      (including any appeals) in accordance with applicable nonbankruptcy law. Movant is permitted to enforce its final
      judgment only by (specify all that apply):
      a.       Collecting upon any available insurance in accordance with applicable nonbankruptcy law.
      b.       Proceeding against the Debtor as to property or earnings that are not property of this bankruptcy estate.

6. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
   of the Bankruptcy Code.

7.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
           the same terms and conditions as to the Debtor.

8.         The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

9.         This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
           180 days, so that no further automatic stay shall arise in that case as to the nonbankruptcy action.
10.        This order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without
           further notice.
11.        Other (specify):
               Movant may file a petition to confirm the final arbitration award and may otherwise proceed under applicable
               nonbankruptcy law to final judgment in any nonbankruptcy forum. The stay shall remain in effect with respect
               to enforcement of any judgment against the Debtor or property of the Debtor's bankruptcy estate.


                                                                         ###




                 Date: February 26, 2015




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California.

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